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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 SECURITIES AND EXCHANGE
 COMMISSION,

       Plaintiff,

 v.                                                Civil Action File No.
                                                   1:18-cv-05868-LMM
 JOSEPH A. MEYER, JR. and
 STATIM HOLDINGS, INC.,

       Defendants.


 RECEIVER’S SUPPLEMENT TO HIS MOTION TO ALLOW AND PAY
   FEES AND EXPENSES TO THE RECEIVER (THIRD INTERIM
                     APPLICATION)

      Al Hill, the Receiver appointed in these proceedings (“Receiver”), previously

filed a motion for payment of fees and expenses incurred in his duties as Receiver

for the period January 1, 2020 through March 31, 2020 [Doc. 110]. This supplement

is filed to correct the fees invoiced by Lightfoot Group, the accounting firm assisting

the Receiver. During the period, Lightfoot Group performed services and incurred

expenses as follows:

      (a) Litigation Counseling                             $       0.00

      (b) Accounting/Auditing                               $ 14,300.00

          TOTAL:                                            $ 14,300.00
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      The Receiver respectfully requests that the Court grant this interim application

for payment of fees in the amount of $42,922.08 to Taylor English Duma LLP and

$14,300.00 to Lightfoot Group, LLC. A proposed order is attached hereto as Exhibit

A.

      Respectfully submitted, this 28th day of April, 2020.


                                              /s/ William G. Leonard
                                              WILLIAM G. LEONARD
                                              Georgia Bar No. 446912
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               EXHIBIT A




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,

v.                                              Civil Action File No.
                                                1:18-cv-05868-LMM
JOSEPH A. MEYER, JR. and
STATIM HOLDINGS, INC.,

       Defendants.


                                    ORDER

      This matter is before the Court on Receiver Al Hill’s (“Receiver”) Supplement

to His Motion to Allow and Pay Fees and Expenses to the Receiver (Third Interim

Application) (“Motion”) [Doc. 110], as supplemented by the Receiver on April 28,

2020 [Doc. 113]. The Receiver requests payment of attorneys’ fees and expenses

incurred in his duties as Receiver during the period January 1, 2020, to March 31,

2020. No other party filed a response to the Motion, and it is deemed unopposed.

N.D. Ga. LR 7.1(B). Having considered the Motion, and that it is unopposed,




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      IT IS HEREBY ORDERED that the Receiver’s Motion to Allow and Pay

Fees and Expenses to the Receiver (Third Interim Application) as supplemented is

GRANTED. The Receiver is authorized to draw down $57,222.08 from the assets

of the receivership.

      SO ORDERED this ___ day of _________________, 2020.



                                           _____________________________
                                           Leigh Martin May
                                           United States District Judge
                                           Northern District of Georgia




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                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

Receiver’s Supplement to His Motion to Allow and Pay Fees and Expenses to the

Receiver (Third Interim Application) with the Clerk of the Court using the CM/ECF

system, which will automatically send e-mail notification of such filing to all

attorneys of record.

      This 28th day of April, 2020.

                                           /s/ William G. Leonard
                                           WILLIAM G. LEONARD
                                           bleonard@taylorenglish.com




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